
PER CURIAM.
Lake Charleston Maintenance Association, Inc. appeals the award of attorney’s fees in favor of Colleen E. Farrell. The underlying case, upon which the award was predicated, was reversed by this court. See Lake Charleston Maint. Ass’n, Inc. v. Farrell, 16 So.3d 182 (Fla. 4th DCA 2009). Accordingly, we reverse the award of attorney’s fees. See City of Hollywood v. Witt, 939 So.2d 315, 319 (Fla. 4th DCA 2006).

Reversed and remanded.

TAYLOR, HAZOURI, JJ., and BEACH, MARCIA, Associate Judge, concur.
